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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: SOCIAL MEDIA ADOLESCENT                      MDL No. 3047
ADDICTION/PERSONAL INJURY
PRODUCTS LIABILITY LITIGATION                       Case Nos.: 4:22-md-03047-YGR-PHK

                                                    JOINT FILING RE: DISCOVERY
                                                    LETTER BRIEF [ECF No. 1949, 1992]
This Filing Relates to:
                                                    Judge: Hon. Yvonne Gonzalez Rogers
                                                    Magistrate Judge: Hon. Peter H. Kang
Tucson Unified School District v. Meta
Platforms, Inc., et al.
Case No. 4:24-cv-01382-YGR



Dear Judge Kang:

        Pursuant to the Clerk’s Notice [ECF No. 1992], the parties jointly submit the transcripts
from the 30(b)(6) deposition referenced in the parties’ joint letter brief [ECF No. 1949], attached
hereto as Exhibit 1 (condensed transcript from April 8, 2025) and Exhibit 2 (condensed transcript
from April 9, 2025).

Dated: May 30, 2025                          Respectfully submitted,


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                                       ATTESTATION

       I, Michael P. Cutler, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the

concurrence to the filing of this document has been obtained from each signatory hereto.



Dated: May 30, 2025
                                            By: /s/ Michael P. Cutler




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